Case 1:17-cv-23272-RNS Document 54 Entered on FLSD Docket 05/02/2019 Page 1 of 2



                               United States District Court
                                         for the
                               Southern District of Florida

   Sharon Weinstock, et al.,               )
   Plaintiffs,                             )
                                           )
   v.                                      ) Civil Action No. 17-23272-Civ-Scola
                                           )
   Islamic Republic of Iran,               )
   Defendant.                              )
                                       Judgment
         For the reasons set forth in the Final Default Judgment entered on April
  5, 2019 (ECF No. 52), it is hereby ORDERED and ADJUDGED that this Court
  GRANTS Plaintiffs' Motion for Default Judgment against Defendant Islamic
  Republic of Iran (“Iran“).
         The Court hereby enters judgment against Defendant in the amounts
  specified below, for a total compensatory damages award of $26,291,000.
  Specifically:
         1. Sharon Weinstock shall be awarded $5,000,000 in compensatory
            damages.
         2. The Estate of Dov Weinstock shall be awarded $5,000,000 in
            compensatory damages.
         3. Moshe Weinstock shall be awarded $2,500,000 in compensatory
            damages.
         4. Geula Weinstock shall be awarded $2,500,000 in compensatory
            damages.
         5. Aryeh Weinstock shall be awarded $2,500,000 in compensatory
            damages.
         6. Chaim Mishael Weinstock (“Mishael“) shall be awarded $2,500,000 in
            compensatory damages.
         7. The Estate of Rabbi Simon Dolgin shall be awarded $2,500,000 in
            compensatory damages.
         8. The Estate of Shirley Dolgin shall be awarded $2,500,000 in
            compensatory damages.
         9. The Estate of Yitzchak Weinstock shall be awarded $1,291,000 in
            compensatory damages.
Case 1:17-cv-23272-RNS Document 54 Entered on FLSD Docket 05/02/2019 Page 2 of 2



        Done and ordered, at Miami, Florida, on May 2, 2019.



                                          ________________________________
                                          Robert N. Scola, Jr.
                                          United States District Judge
